                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


     JOHNNY M. HUNT,                                     Case No. 3:23-cv-00243
                                                         Chief Judge Campbell
                            Plaintiff,                   Magistrate Judge Frensley

             v.                                          DEFENDANT GUIDEPOST
                                                         SOLUTIONS LLC’s STATEMENT
     SOUTHERN BAPTIST CONVENTION;                        OF MATERIAL FACTS NOT IN
     GUIDEPOST SOLUTIONS LLC; and                        DISPUTE PURSUANT TO
     EXECUTIVE COMMITTEE OF THE                          LOCAL RULE 56.01(b)
     SOUTHERN BAPTIST CONVENTION,

                            Defendants.


       Defendant Guidepost Solutions LLC (“Guidepost”) as and for its statement of material

facts not in dispute, pursuant to Rule 56.01(b) of the Local Civil Rules of the United States District

Court for the Middle District of Tennessee, states as follows:

I.          Background to the Dispute

       1.         This litigation arises out of a crisis within the Southern Baptist Convention

(“SBC”), following the publication of a six-part series of articles in the Houston Chronicle titled

“Abuse of Faith.” (See Declaration of Katharine R. Klein, Exhibit 1, Complaint, ¶¶ 5-6.) 1

       RESPONSE:

       2.         In 2021 Guidepost was engaged to conduct an investigation into the following

topics: “(1) allegations of sexual abuse by the Executive Committee; (2) the Executive

Committee’s mishandling of sexual abuse allegations; (3) allegations of mistreatment of sexual

abuse victims; (4) patterns of intimidation of sexual abuse victims or advocates; and (5) resistance



1
       Exhibits labeled numerically correspond to the concurrently filed Declaration of
Katharine R. Klein.


Case 3:23-cv-00243          Document 218       Filed 07/03/24       Page 1 of 22 PageID #: 2895
to sexual abuse reform initiatives.” See Exhibit 2, a copy of the Engagement Agreement dated

October 5, 2021 (“Engagement Agreement”) between and among (i) Guidepost, (ii) the SBC’s

Sexual Abuse Task Force (the “SBC Task Force”), and (iii) the SBC Executive Committee. (Klein

Declaration, Exhibit 2)

       RESPONSE:

       3.      Under Section 2.1 of the Engagement Agreement, Guidepost’s client was the SBC

Task Force. (Exhibit 2.)

       RESPONSE:

       4.      Under Section 2.1 of the Engagement Agreement, Guidepost was to “act under the

leadership and take direction and guidance from the SBC Task Force,” while also engaging with

the Committee on Cooperation. (Exhibit 2.)

       RESPONSE:

       5.      Following its investigation, Guidepost prepared and submitted to the SBC Task

Force its Report of the Independent Investigation (the “Report”). See Klein Declaration at Exhibit

3.

       RESPONSE:

II.    Plaintiff Johnny M. Hunt’s Public Profile

       6.      Plaintiff Johnny M. Hunt (“Hunt”) is a nationally prominent clergyperson who

became the pastor of a Georgia megachurch, First Baptist Church Woodstock. (See Deposition of

Johnny M. Hunt (“Hunt Dep.”), at 26:13-27:23 attached to Klein Declaration at Exhibit 4.)

       RESPONSE:




                                                2

Case 3:23-cv-00243         Document 218       Filed 07/03/24     Page 2 of 22 PageID #: 2896
       7.      From 2008-2010, Hunt was the President of the SBC and “led” the “great

commission resurgence” and was the “pinnacle,” the “voice,” and “face of the Convention.”

(Exhibit 4, Hunt Dep. at 36:10-22; 40:9-21; Compl., ¶ 2; Am. Answer ¶ 2.)

       RESPONSE:

       8.      Hunt did not need the SBC Presidency to acquire public exposure because he

already “had such a platform” due to his high profile as pastor of a Georgia megachurch, such that

the “average church-going Southern Baptist in Arkansas” knew who he was. (Exhibit 4, Hunt Dep.

at 41:4-17; 42:6-16.)

       RESPONSE:

       9.      Hunt testified that he was “president of the largest evangelical body in America”

and “pastoring one of the largest churches in America” and that he had been the “Joseph of the

Woodstock church,” which is one of the largest churches in America. (Exhibit 4, Hunt 52:6-12;

117:6-7; 124:3-5.)

       RESPONSE:

       10.     From 2008-2010, Hunt was an ex officio member of the Executive Committee of

the SBC during his term as President. (Exhibit 4, Hunt Dep. at 43:21-44:2; Compl., ¶ 58.)

       RESPONSE:

       11.     Hunt claims that Guidepost included him in the Report as the “fall guy” for the

denomination “because [Guidepost] not only found one, they found one that everyone in the

convention knew. And not because I had been the president but because I had addressed that

convention 20 years in a row, which speaks of the integrity of my life up until this one thing.”

(Exhibit 4, Hunt Dep. at 148:19-149:6.) (emphasis supplied.)

       RESPONSE:



                                                3

Case 3:23-cv-00243        Document 218        Filed 07/03/24     Page 3 of 22 PageID #: 2897
III.   Hunt’s Alleged Sexual Abuse of Jane Doe in July 2010

       12.     On July 25, 2010, Hunt had an extramarital sexual encounter with Jane Doe, the

wife of another Baptist clergyperson, in a condo in Panama City Beach, Florida. (Exhibit 4, Hunt

Dep. at 63:8-67:3; 213:11-20; 216:4-25; 218:16-219:13.)

       RESPONSE:

       13.     Jane Doe was staying in the condo next door to where Hunt and his family were

staying. (Exhibit 4, Hunt Dep. at 64:10-65:3.)

       RESPONSE:

       14.     Hunt stated in his deposition that, after speaking to Jane Doe across the balconies

of the adjoining units, Hunt entered Jane Doe’s condo, where he fondled and kissed Jane Doe’s

exposed breast “for a couple of minutes” and pulled down her shorts, “probably to her knees”

before the encounter abruptly ended. (Exhibit 4, Hunt Dep. at 216:17-217:6; 218:16-18; 219:11-

13.)

       RESPONSE:

IV.    Guidepost’s Interview of Jane Doe, Hunt, and Other Witnesses Regarding the Alleged
       Sexual Assault

       15.     In or about February 2022, Jane Doe’s husband approached Guidepost with

information about the 2010 encounter between Hunt and Jane Doe. This was the first time the

investigators heard of an allegation against Hunt. (Exhibit 5, Holske Dep. at 64:12-16; 83:12-16.)

       RESPONSE:




                                                   4

Case 3:23-cv-00243        Document 218           Filed 07/03/24   Page 4 of 22 PageID #: 2898
       16.     Starting on March 31, 2022, Guidepost investigators Russell Holske (“Holske”) 2

and Samantha Kilpatrick (“Kilpatrick”) 3 interviewed and then spoke to Jane Doe and her husband

about the encounter on several occasions, separately and together, as well as about subsequent

meetings that took place shortly after the encounter that included Jane Doe, her husband, Hunt, his

wife, and a marriage counselor who was an ordained minister on the staff of First Baptist Church

Woodstock, Roy Blankenship (“Blankenship”). (Exhibit 5, Holske Dep. at 64:8-19;

                       .)

       RESPONSE:




       RESPONSE:




2
       Before joining Guidepost, Holske was regional director of investigations, security, and
trademark protection for Estee Lauder. Previously, he was an agent for the Drug Enforcement
Administration for 32 years. (Exhibit 5, Holske Dep. at 7:17-8:20.)
3
        Before joining Guidepost, Kilpatrick was an attorney in the Wake County district
attorney’s office for several years and was then an attorney in private practice. In both
government and private practice she has worked extensively with survivors over the years and is
trained to deal with trauma situations. (Exhibit 7, Kilpatrick Dep. at 10:20-12:5; 182:7-15.)

                                                5

Case 3:23-cv-00243          Document 218      Filed 07/03/24      Page 5 of 22 PageID #: 2899
       RESPONSE:

       19.    Jane Doe and her husband identified three witnesses in addition to Hunt and

Blankenship who had information relevant to the incident between Hunt and Jane Doe described

in the Report. These witnesses were Southern Baptist clergypersons who were friends and

acquaintances of Jane Doe’s husband. (Exhibit 7, Kilpatrick Dep. at 246:21-247:21; 248:14-20;

250:9-19; 251:2-20; 252:15-253:12; Exhibit 5, Holske Dep. at 48:18-49:11; 50:7-13; 53:17-54:9;

56:9-57:7; 94:19-95:11.)

       RESPONSE:

       20.    Guidepost interviewed the three witnesses. The three witnesses confirmed that Jane

Doe’s husband advised them at various points after the encounter, including in 2010, 2012, and in

or around 2018, that Hunt had a sexual encounter with his wife, and the Guidepost investigators

included what they heard from the witnesses in the Report. (Exhibit 7, Kilpatrick Dep. at 246:21-




                                               6

Case 3:23-cv-00243         Document 218      Filed 07/03/24     Page 6 of 22 PageID #: 2900
247:21; 248:14-20; 250:9-19; 251:2-20; 252:15-254:22; Exhibit 5, Holske Dep. at 48:18-49:11;

50:7-13; 53:17-54:9; 56:9-57:7; 94:19-95:11.).

       RESPONSE:

       21.     Holske and Kilpatrick interviewed Blankenship on or about May 9, 2022. (Exhibit

5, Holske Dep. at 148:7-11; Exhibit 8, Blankenship Dep. at 27:6-28:1; 55:20-56:5.)

       RESPONSE:

       22.     Blankenship admitted that the Guidepost investigators questioned him for about 45

minutes about his involvement in the matter. (Exhibit 8, Blankenship Dep. at 65:12-18.)

       RESPONSE:

       23.     Blankenship confirmed that the Guidepost investigators asked him about the July

25, 2010 incident between Jane Doe and Hunt at the Panama City Beach condo, as well as a

subsequent meeting he held with Jane Doe, her husband, and Hunt on August 2, 2010, at the

husband’s church office. (Exhibit 8, Blankenship Dep. at 41:1-5; 44:6-21; 59:22-60:3; 62:5-64:15.)

       RESPONSE:

       24.     Blankenship confirmed that he answered the investigators’ questions regarding the

July 25, 2010 sexual encounter and the August 2, 2010 meeting. (Exhibit 8, Blankenship Dep. at

59:22-60:3; 62:5-64:15.)

       RESPONSE:

       25.     Blankenship also confirmed that the Guidepost investigators asked him about a

second meeting that took place on or about August 5, 2010, this time with Jane Doe, her husband,

Hunt and his wife at Blankenship’s office at his counseling facility, HopeQuest, and that

Blankenship answered the investigators’ questions about that meeting. (Exhibit 8, Blankenship

Dep. at 62:5-20; 63:17-64:15.)



                                                 7

Case 3:23-cv-00243         Document 218       Filed 07/03/24     Page 7 of 22 PageID #: 2901
       RESPONSE:

       26.     Blankenship invoked priest/penitent privilege and therefore generally declined to

confirm or deny the accuracy of the Report’s account of his precise responses concerning what

Jane Doe, her husband, and the Hunts told him about the encounter itself or what was said during

their subsequent meetings. (Exhibit 8, Blankenship Dep. at 39:5-18; 41:10-23; 42:1-7; 58:3-8;

58:20-59:21; 60:4-9; 61:9-62:4; 62:21-63:5; 64:24-65:9.)

       RESPONSE:

       27.     Blankenship was clear that the investigators questioned him extensively about those

topics and that he answered their questions when they interviewed him, stating that they were

“assertive” and “pushy” and wanted to probe for any information they could get from him

regarding the encounter and his meetings with Jane Doe, her husband and the Hunts. (Exhibit 8,

Blankenship Dep. at 66:7-67:14.)

       RESPONSE:

       28.     Blankenship testified that there was no moment when he felt relieved that the

investigators failed to ask him a question that he did not want to answer and, by the same token,

he did not have the impression that they failed to ask him a question that they should have asked.

(Exhibit 8, Blankenship Dep. at 67:7-14.)

       RESPONSE:

       29.     Guidepost interviewed Hunt on two occasions, first on April 26, 2022, and again

on May 12, 2022. (Exhibit 4, Hunt Dep. at 114:16-22; 125:9-13.)

       RESPONSE:

       30.     Hunt testified that the Report accurately stated that, “during the first interview, Dr.

Hunt did acknowledge that, during his publicly-announced extended sabbatical, he was under the



                                                 8

Case 3:23-cv-00243        Document 218         Filed 07/03/24      Page 8 of 22 PageID #: 2902
care of Mr. Blankenship,” and that the sabbatical followed his sexual encounter with Jane Doe;

and that Hunt’s 2010 sabbatical was, in conjunction with Hunt’s prior cancer recovery, directly

related to his sexual encounter with Jane Doe “because that’s when it happened.” (Exhibit 4, Hunt

Dep. at 123:5-124:24, 157:23-158:7; Exhibit 3, Report at 158.)

       RESPONSE:

       31.     During the second of the two interviews on May 12, 2022, Guidepost asked Hunt a

series of questions about his sexual encounter with Jane Doe, as well as his prior relationship with

Jane Doe and her husband, and his meetings with Blankenship, Jane Doe, and her husband

following the encounter. (Exhibit 4, Hunt Dep. at 160:2-179:3; Exhibit 3, Report at 158-161.)

       RESPONSE:

       32.     During his deposition, Hunt confirmed that, with few exceptions, the Report

accurately recorded questions that the investigators put to him on the following topics and that the

Report accurately recorded his responses to the investigators to those questions. The portions of

the Report concerning which Hunt testified at his deposition are set forth below in the order in

which he was questioned; italicized portions indicate that Hunt acknowledged being questioned

on those topics and that the Report accurately recorded his answer. The portions not italicized

signify that Hunt denied being asked those questions by the investigators and/or disputes having

given the response:

 During the first interview, Dr. Hunt did acknowledge that, during his publicly announced
 extended sabbatical, he was under the care of Mr. Blankenship. When asked if the sabbatical
 was at all related to a sexual abuse matter, he replied in the negative. Investigators asked Dr.
 Hunt several questions about [Jane Doe’s husband’s] church, without identifying [Jane Doe’s
 husband]. They asked if Dr. Hunt knew the circumstances of the resignation of the senior pastor
 at that church, who suddenly and without explanation resigned in 2010. Dr. Hunt stated that he
 did not know who [Jane Doe’s husband] was, or why he had resigned. (Exhibit 4, Hunt Dep. at
 121:15-123:4; 157:23-158:7; 158:15-159:11; 161:8-14; Exhibit 3, Report at 158.)



                                                 9

Case 3:23-cv-00243        Document 218         Filed 07/03/24     Page 9 of 22 PageID #: 2903
 [During the second interview] Guidepost investigators explained to Dr. Hunt that they had
 received an allegation of abuse involving him and [] if he knew what they were talking about;
 Dr. Hunt responded that he was “totally in the dark.” (Hunt Dep. at 160:7-19; Exhibit 3, Report
 at 158.)

 In the second interview, Dr. Hunt acknowledged this time that he knew [Jane Doe’s husband].
 Dr. Hunt stated that he had known the couple for at least twenty years, that [Jane Doe’s
 husband] had been converted under his ministry, and that Dr. Hunt had been a strong
 influence on [Jane Doe’s husband’s] life. For a time, they pastored churches in the same
 state. (Exhibit 4, Hunt Dep. at 160:20-161:17; Exhibit 3, Report at 158.)

 Dr. Hunt remembered Survivor texting him a picture of the pier saying that she was there.
 When asked if he knew where she was, Dr. Hunt said that unbeknownst to him Survivor had
 rented the condo next door, but he had no role in that. He stated that he has no idea who
 owned the condo next door because the building is mostly rentals. (Exhibit 4, Hunt Dep. at
 161:18-162:2; 162:15-164:13; Exhibit 3, Report at 159.)

 When asked if he had any contact with Survivor while he was there, he responded that it was
 very brief on the balcony. While on the balcony he remembers Survivor telling him about
 going to see Bobby Bowden speak that morning but did not remember her saying what else
 she did that day before getting to the beach. (Both Dr. Hunt and Survivor described the
 balconies as side by side but you could not walk through to the other.) Dr. Hunt was asked
 whether he went onto her balcony or entered her condo and he responded he never entered
 her condo and was never on her balcony. (Exhibit 4, Hunt Dep. at 164:16-165:21; Exhibit 3,
 Report at 159.)

 Dr. Hunt said that after seeing Survivor out on the balcony he did not have any further contact
 with Survivor during the time she was there. However, later in the interview he stated that he
 saw her the next day on the beach and then the following day his wife said something to her.
 And he does not know whether she changed places or just went home. (Exhibit 4, Hunt Dep. at
 165:15-166:5; Exhibit 3, Report at 159.)

 Dr. Hunt said that he did not have any physical contact with Survivor – “no contact
 whatsoever.” He also restated that it was not true that he was on the balcony or in the condo.
 When asked specifically about whether he kissed her, pulled at her shorts, or fondled her, he
 said no. He denied sexualized comments about her appearance, panties, tan lines, or perfume.
 (Exhibit 4, Hunt Dep. at 166:12-167:14; Exhibit 3, Report at 159.)

 Hunt further admitted that he told Jane Doe at the time that her perfume smelled nice.
 (Exhibit 4, Hunt Dep. at 167:8-14; Exhibit 3, Report at 159.)

 Dr. Hunt shared that his wife was uncomfortable with Survivor next door by herself because
 it just did not look right that she was down there all alone. At some point, he thinks his wife
 may have said something to Survivor, and that all he knew was that Survivor was not there
 anymore. (Exhibit 4, Hunt Dep. at 167:15-168:18; Exhibit 3, Report at 159-160.)

                                               10

Case 3:23-cv-00243       Document 218       Filed 07/03/24      Page 10 of 22 PageID #: 2904
 When asked whether his wife was there the whole time with him, he stated that there may
 have been a brief time that she was not there because of an event at Southeastern Baptist
 Theological Seminary where she may have flown in and out in one day or the next day. He
 said it was possible that she was not there some of the time that Survivor was there. (Exhibit
 4, Hunt Dep. at 168:19-169:4; Exhibit 3, Report at 160.)

 When asked if he contacted Mr. Blankenship, the counselor, because there was a problem
 between [Jane Doe’s husband] and Survivor, he said that he did not contact him in regard to
 that but just for general help because [Jane Doe’s husband] was transitioning in ministry and
 Dr. Hunt had always been a sounding board for him. (Exhibit 4, Hunt Dep. at 169:5-12;
 Exhibit 3, Report at 160.)

 Dr. Hunt remembers only one meeting with the couple on August 2, 2010. He said the meeting
 was brief and that he and his wife, along with [Jane Doe’s husband] and Survivor and Mr.
 Blankenship were present. Dr. Hunt claims that he never directed the couple towards Mr.
 Blankenship for counseling. (Exhibit 4, Hunt Dep. at 169:13-170:22; Exhibit 3, Report at 160.)

 Dr. Hunt said that he did not apologize to Survivor for sexually assaulting her during this
 meeting because there was no contact between the two of them. He denied saying “Praise Jesus
 that I didn’t consummate the relationship.” If there was an apology, Dr. Hunt believed it was
 related to Mrs. Hunt offending Survivor about being concerned with her being there alone, and
 them apologizing for her having to leave. He stated that “Someone has created a story on me. I
 would like to hear her story on this.” (Exhibit 4, Hunt Dep. at 170:23-171:5; 171:20-172:24;
 175:1-176:4; Exhibit 3, Report at 160.)

 Dr. Hunt said that Survivor had never come on to him and he never felt threatened by her.
 Dr. Hunt stated that he and [Jane Doe’s husband] have stayed in contact over the years.
 Investigators asked Dr. Hunt if there were any similar allegations with other women. Dr.
 Hunt answered no. (Exhibit 4, Hunt Dep. at 176:10-21; Exhibit 3, Report at 160.)

 Several times during the interview, Guidepost investigators directly asked Dr. Hunt about
 specific allegations of sexual abuse against the Survivor, controlling the narrative through
 the use of an unlicensed therapist, and trying to protect his ministry, 40,000 churches, and
 the SBC, all of which he denied. (Exhibit 4, Hunt Dep. at 176:22-178:4; Exhibit 3, Report at
 160.)

 The investigators asked Dr. Hunt if there was anyone else he thought we should speak with
 about the matter, and he said the only ones who would know would be the couple and Mr.
 Blankenship. The investigators asked if he thought his wife would speak with us and he
 replied no, saying that he doubts his wife would speak to us because her take was that we
 handled it and moved on. Investigators understood this to mean that Dr. Hunt had apologized
 for the fact that his wife had upset Survivor by telling her to leave. Throughout the interview,
 Dr. Hunt remained very calm, expressed little to no emotion, did not get upset, did not raise his
 voice, or express outrage at the allegations. (Exhibit 4, Hunt Dep. at 178:9-179:9; Exhibit 3,
 Report at 160-161.)

                                                11

Case 3:23-cv-00243       Document 218        Filed 07/03/24      Page 11 of 22 PageID #: 2905
       RESPONSE:

       33.      The Guidepost investigators gave Hunt the opportunity to supplement what he told

them within 48 hours, but he did not do so. (Exhibit 4, Hunt Dep. at 104:16-18; 268:2-15.)

       RESPONSE:

       34.      Instead, shortly after his interview with the Guidepost investigators, Hunt engaged

lawyers to raise the possibility of litigation with Guidepost if they delivered the Report to the SBC

with Jane Doe’s account of sexual abuse Doe in her condo. (Exhibit 4, Hunt Dep. at 272:9-12;

275:1-13 & Exhibit 9 [Defendants’ Exhibit 11].)

       RESPONSE:

       35.      Hunt’s counsel did not advise Guidepost that Jane Doe had initiated the encounter,

that it was consensual, or otherwise point to any anticipated falsehoods in the Report but confined

their complaint to the suggestion that the Guidepost investigators had failed to convey an Upjohn

warning to Hunt. (Exhibit 4, Hunt Dep. at 272:9-12; 274:21-276:3 & Exhibit 9 [Defendants’

Exhibit 11].)

       RESPONSE:

       36.      Guidepost was not called upon to determine whether the sexual encounter was

consensual, since Hunt denied that any sexual encounter ever occurred with Jane Doe. (Exhibit 10,

Wood Dep. at 161:20-162:23; 169:17-19; 170:16-18.)

       RESPONSE:

       37.      Guidepost followed industry standards in planning and conducting interviews of

each of the relevant witnesses and did so under circumstances of complete independence. (Exhibit




                                                 12

Case 3:23-cv-00243        Document 218        Filed 07/03/24      Page 12 of 22 PageID #: 2906
11, Deposition of Douglas Leff, SI Global Partners, at 14:5-20:18; 27:14-28:2; 75:23-81:9; 165:5-

167:6; 180:3-182:1; 201:23-204:4-230:15-232:13.) 4

         RESPONSE:

    V.   Guidepost’s Submission of the Factual Portions of the Report Regarding Hunt to
         the Committee on Cooperation and the SBC Task Force

         38.   Pursuant to Section 3.5 of the Engagement Agreement, for the sole purpose of

ensuring the factual accuracy of the Report, Guidepost was to show factual portions of the Report

to the Committee on Cooperation and the SBC Task Force. (Exhibit 2.)

         RESPONSE:

         39.   At first, Guidepost provided drafts of factual portions of the majority of the Report

to both the Committee on Cooperation and the SBC Task Force but at that time Guidepost had not

yet completed Hunt’s second interview. (Exhibit 12, Guidepost 30(b)(6) Dep. at 128:16-129:20.)

         RESPONSE:

         40.   At that time, Hunt’s section of the Report was still being reviewed and edited by

Guidepost personnel. (Exhibit 12, Guidepost 30(b)(6) Dep. at 130:6-131:2.)

         RESPONSE:

         41.   Then, on May 12, 2022, in accordance with the Engagement Agreement,

Guidepost provided the factual portions of the Report to the SBC Task Force with the Hunt

allegations via a password-protected file. (Exhibit 13, GP_23,422-GP_23,424; Exhibit 10, Wood

Dep. 428:15-430:4.)



4
        Mr. Leff is a Managing Director of SI Global Partners. Previously, he was served as a
Special Agent with the Federal Bureau of Investigation (FBI) from 1996-2022, starting at the
New York Organized Crime Branch and ultimately serving as Assistant Director in Charge of the
Inspection Division, the top internal compliance investigative position in the agency. His work in
the Inspection Division involved reviewing the adequacy of prior investigations. (Exhibit 11,
Deposition of Douglas Leff, SI Global Partners, at 8:1-9:25; 10:22-11:6.)
                                                13

Case 3:23-cv-00243       Document 218         Filed 07/03/24     Page 13 of 22 PageID #: 2907
       RESPONSE:

       42.     Then, on May 13, 2022, Guidepost showed factual portions of the Report that

contained references to Hunt’s encounter with Jane Doe in a confidential Zoom meeting with

members of the Committee on Cooperation present. (Exhibit 12, Guidepost 30(b)(6) Dep. at

152:3-12.)

       RESPONSE:

       43.     Neither the Committee on Cooperation nor the SBC Task Force disputed any

factual information presented in the Hunt portion of the Report. (Exhibit 10, Wood Dep. at 431:13-

432:18.

       RESPONSE:

VI.    Guidepost Submits the Report to the SBC Task Force, Which Publishes the Report
       on its Own Website

       44.     On or about May 15, 2022, Guidepost delivered its Report of the Independent

Investigation (the “Report”) to the SBC Task Force. (Exhibit 3.)

       RESPONSE:

       45.     Guidepost did not transmit the Report to any other person. (Exhibit 12, Guidepost

30(b)(6) Dep. at 145:12-146:1; 148:4-12; 152:3-19; 159:21-160:18; Exhibit 10, Wood Dep. 95:15-

21; 429:2-430:11.)

       RESPONSE:

       46.     Hunt admitted in his deposition that he has no evidence that Guidepost ever

published the Report other than to submit it to the SBC Task Force pursuant to the Engagement

Agreement. (Exhibit 4, Hunt Dep. at 292:11-17; 294:6-295:10.)

       RESPONSE:




                                               14

Case 3:23-cv-00243       Document 218        Filed 07/03/24        Page 14 of 22 PageID #: 2908
       47.     The Report contained not only the allegations by Jane Doe, her husband, and the

other witnesses, but also related Hunt’s categorical denial of a sexual encounter. (Exhibit 3, Report

at 159-160.)

       RESPONSE:

       48.     The Report was never hosted on the Guidepost website at any time. Rather,

Guidepost placed at the top of its own website an “SBC EC” tab. When a person clicked on that

hyperlink, the visitor immediately left the Guidepost website and was taken to website of the SBC

Task Force, which, in turn, hosted the Report. Once there, the viewer would have to scroll down

the SBC Task Force website past certain updates to the SBC community until coming to yet

another hyperlink, which only would then display the Report. Again, by this point the visitor was

no longer on the Guidepost website. In other words, the Report was “published,” not by Guidepost,

but by the SBC Task Force in accordance with the Engagement Agreement. (Exhibit 12, Guidepost

30(b)(6) Dep. at 146:8-147:8, 204:11-206:7; 235:12-236:13; Exhibit 10, Wood Dep. at 201:17-

203:6, 216:4-217:20.) 5

       RESPONSE:

       49.     On or about May 22, 2022, the SBC Task Force—not Guidepost—published the

Report on the SBC Task Force’s website. (Exhibit 12, Guidepost 30(b)(6) Dep. at 146:8-147:8;

235:12-236:13; Exhibit 10, Wood Dep. at 201:17-203:6.)

       RESPONSE:




5
       Guidepost’s designated witness pursuant to Fed. R. Civ. P. 30(b)(6) was its Executive
Vice President, Krista Tongring. Among her other qualifications, Ms. Tongring had over six
years of experience at the DEA and over five years experience as a trial attorney at the
Department of Justice. She previously clerked in the United States District Court for the District
of New Jersey. (Exhibit 12, Guidepost 30(b)(6) Dep. at 11:5-14; 15:12-21; Exhibit 15
[Deposition Exhibit 105.])
                                                 15

Case 3:23-cv-00243        Document 218        Filed 07/03/24      Page 15 of 22 PageID #: 2909
       50.    Moreover, Jonathan Howe, who testified on behalf of the Executive Committee of

the Southern Baptist Convention, stated that he personally uploaded and published the Report

through an online server after receiving an “embargoed” copy from Bruce Frank, Chairman of the

SBC Task Force. (Exhibit 14, Deposition of Jonathan Howe, at 69:3-18; 69:22-70:24; 71:3-19;

71:23-72:24; 77:8-17, 223:9-224:8.)

       RESPONSE:

       51.    The only parties to whom Guidepost delivered the Report, or any part of it, were

the Committee on Cooperation and the SBC Task Force. (Exhibit 12, Guidepost 30(b)(6) Dep. at

145:12-146:1; 148:4-12; 152:3-19; 159:21-160:18; Exhibit 10, Wood Dep. 429:2-430:11.)

       RESPONSE:

VII.   Hunt Discloses His Sexual Encounter With Jane Doe After the SBC Task Force
       Publishes the Report and Admits He Never told the Guidepost Investigators the
       Truth About his Encounter With Jane Doe

       52.    As of May 20, 2022—after the Report had already been submitted to the SBC Task

Force and a mere two days before it was released to the public on the SBC Task Force’s website—

Hunt conceded that “the investigators did not even know [his] version of what happened.” (Exhibit

4, Hunt Dep. at 275:18-276:3.)

       RESPONSE:

       53.    Hunt never told the Guidepost investigators that Jane Doe initiated the encounter.

(Exhibit 4, Hunt Dep. at 277:17-20.)

       RESPONSE:

       54.    After the publication of the Report by the SBC Task Force, Hunt wrote to his

congregation on May 27, 2022 releasing his statement regarding the “Task Force Report.”

(Exhibit 4, Hunt Dep. at 188:12-191:5; and Exhibit 16 [Defendants’ Deposition Exhibit 16].)

       RESPONSE:
                                               16

Case 3:23-cv-00243       Document 218       Filed 07/03/24      Page 16 of 22 PageID #: 2910
       55.     While Hunt had told the Guidepost investigators that he had no physical contact

with Jane Doe, he told his congregation that “I allowed myself to get too close to a compromising

situation with a woman who was not my wife” in what he referred to as a “brief, consensual

encounter.” (Exhibit 4, Hunt Dep. at 189:15-23; 193:1-11; Exhibit 16 [Defendants’ Exhibit 16].)

       RESPONSE:

       56.     Hunt also wrote, “I also am sorry I wasn’t more forthcoming with the interviewers

because it made a bad situation worse. I guess I was just so surprised and so shocked by the

allegations of abuse that I shut down.” (emphasis supplied) (Exhibit 4, Hunt Dep. at 193:12-21;

Exhibit 16, [Defendants’ Exhibit 16].)

       RESPONSE:

       57.     Although he told the Guidepost investigators that he had no physical contact with

Jane Doe, Hunt admits in his Complaint that he had an “inappropriate, extramarital encounter”

with his accuser involving what he termed “kissing and some awkward fondling” and alleges was

initiated by his accuser. (Exhibit 1, Compl., ¶¶ 3, 53.)

       RESPONSE:

       58.     Hunt did not tell the Guidepost investigators that Jane Doe had tempted and seduced

him and instead denied any physical contact whatsoever. (Exhibit 4, Hunt Dep. at 275:9-276:3;

277:10-20.)

       RESPONSE:

       59.     Hunt denied that he had left his balcony to be with Jane Doe. (Exhibit 4, Hunt Dep.

at 141:19-142:11.)

       RESPONSE:




                                                 17

Case 3:23-cv-00243        Document 218         Filed 07/03/24   Page 17 of 22 PageID #: 2911
        60.     Hunt’s explanation as to why he denied to the Guidepost investigators that he had

engaged in physical sexual contact and did not explain that Jane Doe had initiated the sexual

encounter is that he felt “ambushed” and that he was saying “no” to what he deemed to be an

overall “false narrative.” (Exhibit 4, Hunt Dep. at 102:4-103.23; 138:3-141:22.)

        RESPONSE:

VIII.      Guidepost Published the Challenged Statements In Good Faith and Without Malice

        61.     Guidepost investigator Russell Holske confirmed that, in or around May 4, 2022,

18 days before Guidepost delivered the Report to the SBC Task Force in, Guidepost was not going

to include Johnny Hunt in the Report because Guidepost had only spoken with Jane Doe and her

husband and had not yet spoken with corroborating witnesses. (Exhibit 5, Holske Dep. at 198:5-

204:17.)

        RESPONSE:

        62.     Mr. Holske testified that because Guidepost needed to be fair to Hunt, he gave Hunt

“the same opportunity to provide hours and hours of detail on his version of the events, but [Hunt]

denied any physical contact whatsoever.” (Exhibit 5, Holske Dep. at 307:5-13.)

        RESPONSE:

        63.     Mr. Holske also testified, when asked whether the Report was in favor of Jane

Doe’s and her husband’s version of events over Hunt’s denial, that “Guidepost Solutions had no

agenda in investigating the allegations against Dr. Hunt. If Roy Blankenship had not talked to us,

if Dr. Hunt had not talked to us the second time, we were comfortable with the report not going in

as it relates to Dr. Hunt.” (Exhibit 5, Holske Dep. at 253:20-254:10.)

        RESPONSE:




                                                18

Case 3:23-cv-00243        Document 218        Filed 07/03/24     Page 18 of 22 PageID #: 2912
          64.   Guidepost’s CEO, Julie Myers Wood, and investigator Kilpatrick both testified that

had Hunt claimed his encounter with Jane Doe was consensual encounter rather than falsely

denying the encounter happened at all, Hunt would not have been included in the Report. (Exhibit

10, Wood Dep. at 199:10-200:10, 246:1-9; Exhibit 7, Kilpatrick Dep. at 303:11-304:10.) 6

          RESPONSE:

          65.   Guidepost asked Hunt if there were other witnesses who they could talk to who

could corroborate his denial, and Hunt had no other individuals except Jane Doe, her husband, and

himself – individuals Guidepost interviewed. (Exhibit 10, Wood Dep. at 241:6-19; Exhibit 4, Hunt

Dep. at 267:10-19.)

          RESPONSE:

    IX.   Hunt Has Not Experienced Severe Emotional Distress

          66.   Hunt went to an “intensive workshop” shortly after the SBC Task Force published

the Report, but he rejected medication because he “didn’t want medication to make me feel what

I am not. I want to feel this and work through it.” (Exhibit 4, Hunt Dep. at 256:6-257:16; 258:2-

5.)

          RESPONSE:




6
        Ms. Wood’s qualifications include having clerked in the United States Court of Appeals
for the Eighth Circuit for Hon. C. Arlen Beam, following which she worked at Mayer, Brown, &
Platt. Subsequently, Ms. Wood was employed by the Office of Independent Counsel and worked
on the Monica Lewinsky matter. Ms. Wood later worked at the U.S. Attorney’s Office for the
Eastern District of New York, and the United States Treasury Department. Ms. Wood was later
Chief of Staff for Michael Chertoff, and then the United States Commerce Department as
Assistant Secretary for Export Enforcement. Ms. Wood worked in the White House for President
George W. Bush, and was subsequently the Assistant Secretary for Immigration and Customs
Enforcement with the United States Department of Homeland Security. (Exhibit 10, Wood Dep.
at 10:3-12:2; 14:6-19; 15:10-15; 16:7-14; 17:5-18:15.)
                                                19

Case 3:23-cv-00243        Document 218       Filed 07/03/24      Page 19 of 22 PageID #: 2913
       67.      Hunt has continued a steady schedule of preaching, traveling, and attending

conferences. (Exhibit 18, Johnny Hunt Ministries 30(b)(6) Dep., 59:2-64:23.)

       RESPONSE:

 X.    Hunt Can Not Claim Damages Related To Non-Profit Johnny Hunt Ministries, Inc.

       68.      Hunt’s Expert, Lamar Barden, issued an expert report stating that all revenues

derived from speaking engagements, publications and other ministry related activities belonged to

non-profit Johnny Hunt Ministries, Inc. (“JHM”). Exhibit 19, Barden Expert Report.

       RESPONSE:

       69.      All of Hunt’s book deals proceeds went to JHM, as well as all proceeds from

speaking engagements. (Exhibit 4, Hunt Dep. at 85:23-86:2; 267:4-7)

       RESPONSE:

       70.      As of April 18, 2024, the date of Hunt’s deposition, Hunt only began “[p]robably

in the last five weeks, maybe not even five weeks,” to direct individuals to pay him, as opposed to

JHM, for speaking engagements and other revenue generating activities. (Exhibit 4, Hunt Dep.

85:21-86:13.)

       RESPONSE:

       71.      Janet Hunt, testifying as JHM’s 30(b)(6) witness, admitted that the purpose of

JHM was for mission work, the propagation of the gospel of Jesus Christ, getting the message

out and supporting the church. It was not to enrich any particular individual. (Exhibit 18, Johnny

Hunt Ministries 30(b)(6) Dep. at 14:23-15:15.)

       RESPONSE:

       72.      JHM has never paid any income to Hunt. (Exhibit 18, Johnny Hunt Ministries

30(b)(6) Dep. at 28:2-13.)



                                                 20

Case 3:23-cv-00243        Document 218        Filed 07/03/24     Page 20 of 22 PageID #: 2914
      RESPONSE:




                                Respectfully submitted,

                                RILEY & JACOBSON, PLC

                                s/John R. Jacobson
                                John R. Jacobson, Esq. (BPR # 014365)
                                Katharine R. Klein, Esq. (BPR # 019336)
                                1906 West End Avenue
                                Nashville, TN 37203
                                Telephone: (615) 320-3700
                                jjacobson@rjfirm.com
                                kklein@rjfirm.com

                                -and-

                                MINTZ & GOLD LLP
                                Steven G. Mintz (admitted pro hac vice)
                                Terence W. McCormick (admitted pro hac vice)
                                Scott Klein (admitted pro hac vice)
                                Alex Otchy (admitted pro hac vice)
                                600 Third Avenue
                                25th Floor
                                New York, NY 10016
                                Telephone: (212) 696-4848
                                mintz@mintzandgold.com
                                mccormick@mintzandgold.com
                                klein@mintzandgold.com
                                otchy@mintzandgold.com


                                Counsel for Guidepost Solutions LLC




                                        21

Case 3:23-cv-00243   Document 218   Filed 07/03/24    Page 21 of 22 PageID #: 2915
                                 CERTIFICATE OF SERVICE
       I hereby certify that a true and correct copy of the foregoing has been served through the
Court’s electronic filing system on the following:
Todd G. Cole, Esq. (BPR # 031078)                      Gene R. Besen, Esq.
Andrew Goldstein, Esq. (BPR # 037042)                  BRADLEY ARANT BOULT CUMMINGS
COLE LAW GROUP, P.C.                                   LLP
1648 Westgate Circle, Suite 301                        Fountain Place
Brentwood, TN 37027                                    1445 Ross Avenue, Suite 3600
Telephone: (615) 326-9059                              Dallas, Texas 75202
tcole@colelawgrouppc.com                               Telephone: (214) 257-9758
agoldstein@colelawgrouppc.com                          gbesen@bradley.com

Robert D. MacGill, Esq. (Ind. Bar. 9989-49)            Thomas J. Hurney, Jr., Esq.
Patrick J. Sanders, Esq. (Ind. Bar. 36950-29)          Gretchen M. Callas, Esq.
MACGILL PC                                             JACKSON KELLY PLLC
156 E. Market St. Suite 1200                           500 Lee Street East, Suite 1600
Indianapolis, IN 46204                                 Post Office Box 553
Telephone: (317) 721-1253                              Charleston, West Virginia 25322
robert.macgill@macgilllaw.com                          Telephone: 304-340-1000
patrick.sanders@macgilllaw.com                         thurney@jacksonkelly.com
                                                       gcallas@jacksonkelly.com
Counsel for Plaintiff
                                                       Counsel for the Executive Committee of the
Scarlett Singleton Nokes, Esq.                         Southern Baptist Convention
R. Brandon Bundren, Esq.
E. Todd Presnell                                       L. Gino Marchetti, Jr., Esq.
BRADLEY ARANT BOULT CUMMINGS                           Matt C. Pietsch, Esq.
LLP                                                    TAYLOR, PIGUE, MARCHETTI &
ONE 22 ONE                                             BLAIR, PLLC
1221 Broadway, Suite 2400                              2908 Poston Avenue
Nashville, Tennessee 37203                             Nashville, TN 37203
Telephone: (615) 244-2582                              Telephone: (615) 320-3225
snokes@bradley.com                                     gmarchetti@tpmblaw.com
bbundren@bradley.com                                   matt@tpmblaw.com
tpresnell@bradley.com                                  Counsel for the Southern Baptist Convention




on this 3rd day of July, 2024.
                                                       s/John R. Jacobson




                                                  22

Case 3:23-cv-00243        Document 218          Filed 07/03/24    Page 22 of 22 PageID #: 2916
